












               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00427-CR

____________


JASON WAYNE PETERSHAGEN, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause No. 913705






MEMORANDUM  OPINION

	Appellant was indicted for capital murder.  He reached a plea agreement
with the State in which he pleaded guilty to the lesser offense of murder.  In
accordance with the agreement, the trial court sentenced appellant to confinement for
life.  Appellant filed a pro se notice of appeal.  We dismiss for lack of jurisdiction.

	Rule 25.2(a) of the Texas Rules of Appellate Procedure provides, in
pertinent part:

	In a plea bargain case -- that is, a case in which a defendant's
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant -- a defendant may appeal only:


	(A)	those matters that were raised by written motion filed and
ruled on before trial, or


	(B)	after getting the trial court's permission to appeal.


Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of defendant's right of appeal states that this
"is a plea-bargain case, and the defendant has NO right of appeal."  (Emphasis in
original.)  See Tex. R. App. P. 25.2(d).

	We also note that appellant waived his right to appeal.  See Buck v. State,
45 S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.

Do not publish.   Tex. R. App. P. 47.2(b).


